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   Bagley, 473 U.S. 667,682 (1985).” United States v. Marshall, 109 f.3d 94, 97 (1st Cir.
                                                                                          1997).
  Although courts have used different terminologies to defme “materiality,” the U.S. Supreme

  Court has determined that evidence is material if there exists a “reasonable probability” that
                                                                                                 its
  disclosure to the defense would have changed the result of the trial. Kyles v. Whitley, 514 U.S.

  419, 420 (1995); United States v. Bagley, 473 U.S. 667, 682 (1985). A “reasonable probability”

  is a probability sufficient to undermine confidence in the outcome. Pennsylvania v. Ritchie, 480

  U.S. -39 (1987). However, this standard does not require the defendant to prove that it is more

  likely than not that disclosure of the evidence would result in acqiiittal. Kyles, 115 S. Ct. at 1566.

 A reasonable probability of a changed result exists where the suppression of evidence

 “undermines confidence in the outcome of the trial.” Id. (quoting Bagley, 473 U.S. at 678, 105 S.

 Ct. at 3381).

         “The ‘missing evidence’ must possess an exculpatory value that was apparent before the

 evidence was destroyed’ and must be ‘of such a nature that the defendant would be unable to

 obtain comparable evidence by other reasonably available means.” Caflfornia v. Trombetta, 467

 U.S. 479 (1984) (breath alcohol test). If the missing evidence is not provably exculpatory, but is

merely potentially useful, the defendant must show bad faith on the part of the police, who, by

their conduct, may indicate that the evidence could form a basis for exonerating the defendant,

thereby violating due process. Arizona v. Youngblood, 448 U.S. 51, 58 (1988). “Under this

precedent, the initial burden is on the defendant to show the evidence existed.” United States v.

Marshall, 109 F.3d 94, 97 (1St Cir. 1997). When the government fails to preserve potentially

exculpatory evidence, the “good faith/bad faith” question regarding the government actors is

dispositive. Arizona v. Youngblood, 448 U.S. 51, 58 (1988).
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                         UNSWORN VERIFICATION




                                    do hereby verify that
the facts set forth in this motion are true and correct
tc the best of my knowledge or information and belief, and
tkat any false statements herein are made subject to penalties
of section 4904 of the Pennsylvania Criminal Code,        relating
to unsworn falsification to authorities.




                                                Defendent
   Case 2:14-cv-01628-JLS Document 12 Filed 07/04/14 Page 7 of 7
           IN THE COURT OF COMMON PLEAS PHILADELPHIA
                           CRIMINAL DIVISION

COMMONWEALTH OF PENNSYLVANIA
                                                        DOCKET NO.
                                    COPY 7
                  VS.    ORIGINAL ILE IN SUP 0R COURT   MOTION TO

   KEVIN McKEITHER             MA         2013
                                                        TO : Hon. President Judge
                                                        Pamela Pryor Dembe
                           EAS      RNDISTRICL
                                 MOTION TO COMPEL

And now comes Petitioner KEVIN McKEITHER,                  Pro se,   addressing this
Honorable Court pursuant to_______________________
          TO: Hon.President Judge,Pamela P.                Dembe

             On                   2012     ,   Petitioner sent CAVEAT TO JUDICIAL
ACTORS AND PROSECUTORS & MEMORANDUM OF LAW & MOTION TO DISMISS FOR
LACK OF SUBJECT MATTER JURISDICTION & VOID JUDGMENT, To the Hon.
Lisa M.   Rau of COMMON PLEAS COURT OF PHILADELPHIA COUNTY & TO
District Attorney’s Office Seth R.                 Williams,    and this court has
failed to answer in a timely manner.

Petitioner pray that you Compel this court,                    and/or the District
Attorney’s Office to answer Petitioner’s Motion/Brief.
See, attach,Motion.


CC:FILE
DATED:J[                2012                                       o5Submed

                                                                Kevin McKeither #HV-51 4
                                                               SCI—Rtreat
                                                               668 State Route 11
                                                               Hunlock Creek, Pa. 18621
